UNITED STATES DISTRICT COURT FOR
THE SOUTHERN DISTRICT OF NEW YORK

LOUISE MENSCH

Plaintiff, CIVIL COMPLAINT

UNITED STATES OF AMERICA; and
UNITES STATES INTERNAL REVENUE
SERVICE

Defendants.

 

 

PARTIES

l. Plaintiff Louise Mensch (“Plaintiff”) is a resident of New York County, New

York. Her social security number is I.

of Defendant the United States of America includes all government agencies and
departments.
3, Defendant the Unites States Internal Revenue Service (“IRS”) is a federal tax-

collection agency that is responsible for the implementation and enforcement of the internal
revenue laws,
JURISDICTION AND VENUE
4. This is an action to recover a refund reported on Plaintiff’s 2018 Form 1040, filed
on January 8, 2020 pursuant to an automatic extension. This Court has jurisdiction under 28

U.S.C. § 1346(a)(1). Venue is proper pursuant to 28 U.S.C. §1402.
ALLEGATIONS
I. FACTS SUPPORTING REFUND CLAIM

A. 2016 Tax History

5. Plaintiff married Peter Mensch in New York County, New York on or about
February 17, 2011. Peter Mensch’s social security number is MM. At all relevant times,
both Plaintiff and Peter Mensch were residents of the State of New York and subject to the rules
of equitable distribution of property earned during a marriage as applicable within the State of
New York.

6. On November 13, 2017 Plaintiff filed a joint federal income tax return (with
status “Married Filing Jointly”) for herself and her than husband Peter Mensch with respect to
calendar year 2016 (the “2016 Return”).

7. At the time of the filing, Plaintiff and Peter Mensch were still legally married and
not separated. The 2016 Return reflected the incomes earned during the 2016 year (in which they
were married) of both the Plaintiff and Peter Mensch. There are no known audits or challenges
to the 2016 Retum as filed.

8. An overpayment of $1,151,977 was reported on line 75 of the 2016 Return,
resulting from over-withholding against wages earned in 2016, i.e., during the marriage and
therefore subject to equitable distribution in the State of New York.

9. As is the normal case where a taxpayer reports an overpayment, the Form 1040
provides a choice to take the overpayment as a payment of a refund (Line 76a) or instead credit
the overpayment as an estimated payment to the following year’s income taxes (line 77).

10. Online 77 of the 2016 Return, the couple chose to designate the full overpayment
of $1,151,977 to be applied to estimated taxes in 2017.

B. 2017 Tax History
11. During the year 2017, Plaintiff and Peter Mensch were still married, still not
separated and filed a joint federal income tax return (the “2017 Return”).

12. Online 65 of the 2017 Retum, the couple reported the carryover of their 2016
refund toward their estimated 2017 tax payments totaling $1,151,977, as discussed above.

13. This carryforward, in connection with other payments made in 2017, resulted in
an overpayment of tax payments in 2017.

14. The other payments with respect to taxes during 2017 were made, similarly to
2016, from withholdings against wages during 2017, which wages were income subject to
equitable distribution in the State of New York as income earned during the course of the
marriage.

14. On line 77 of the 2017 Retum, Plaintiff and Peter Mensch designated $818,192 to
be carried over and applied to estimated taxes in 2018.

C. 2018 Tax History

15. During the year 2018, Plaintiff and Peter Mensch were separated and in the
process of divorce.

16. Plaintiff and Peter Mensch subsequently divorced pursuant to a Judgment of
Divorce, Dated August 22, 2019, which incorporated (but did not merge with) the Stipulation of
Settlement that Plaintiff and Peter Mensch entered into and that the court so ordered on July 19,
2019.

17. Plaintiff and Peter Mensch’s so ordered Stipulation of Settlement of July 19, 2019
did not provide for the allocation of any tax refunds during the marriage nor was any agreement
reached between the Internal Revenue Service and the divorcing couple as to the proper

allocation of the 2017 carryforward refund.
18. Plaintiff filed her tax return for 2018 witha filing status of “Married Filing
Separately” on February 24, 2020 (the “2018 Return”), a filing that was late but well within the
three-year limitation for request of a refund of taxes overpaid.

19, On her 2018 federal income tax return, plaintiff claimed one-half of $805,689! on
Line 66 of Schedule 5 (“Other Payments and Refundable Credits”) of the 2018 Return, as a
carryforward of one-half of the prior tax carryforward indicated on line 66 of her 2017 Return.
I. NON-DISTRIBUTION OF REFUND TO PLAINTIFF

18. ‘By letter dated February 24, 2020 (the same date the 2018 Return was
electronically filed), the Internal Revenue Service sent Plaintiff a Notice CP23 with respect to
tax year 2018 indicating “Changes to your 2018 Form 1040”.

19. The letter stated “We changed your 2018 Form 1040 to match our record of your
estimated tax payments, credits applied from another tax year, and/or payment received with an
extension to file.”

20. ‘The net result of the change was to eliminate entirely the one-half of the
carryforward credit from 2017 claimed on Plaintiff’s 2018 Return.

21. No analysis was presented by the Internal Revenue Service proposing any
allocation of the carryforward or requesting any additional information relating to the source of
funds comprising the payments that gave rise to the carryforward credit.

22. To date, Plaintiff has not received the proper credit and refund due to her for the

tax year ending December 31, 2018 nor any portion thereof.

PRAYER FOR RELIEF

 

' The minor difference between the $818,192 amount claimed on the 2017 joint retum and the $805,689 figure, one
half of which was claimed as a credit by Plaintiff on her 2018 retum, is not immediately obvious from the record.

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WHEREFORE, plaintiff demands judgement in the amount of $402,844, plus interest

and costs allowed by law, and such other relief as the Court may deem just, including award of

attorneys’ fees under 26 U.S.C. §7430.

Dated: July 15001

 

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